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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                               Criminal No. 07-121 (ADC)

 JOSE ORTIZ-COLON [31],
      Defendant.


                   ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is an unopposed Report and Recommendation issued by Magistrate-

Judge Bruce J. McGiverin on December 12, 2007. (Docket No. 708). In said Report and

Recommendation the Magistrate-Judge recommends that: defendant José Ortiz-Colón

be adjudged guilty of the offenses charged in Count I (21 U.S.C. §§ 841(a)(1), 846 and 860)

inasmuch as, his plea of guilty was intelligently, knowingly and voluntarily entered.

       Neither party has filed objections to the Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby

APPROVES and ADOPTS the Magistrate-Judge’s Report and Recommendation in its

entirety.

       Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.
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       The sentencing hearing is set for March 19, 2008 at 20:00 p.m.

       SO ORDERED.

       At San Juan, Puerto Rico, this 16th day of January, 2008.




                                               S/AIDA M. DELGADO-COLON
                                               United States District Judge
